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 1              IN THE UNITED STATES JUDICIAL DISTRICT COURT
 2                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
 3                              CHARLOTTE DIVISION
 4        ________________________________
 5        CPI SECURITY SYSTEMS, INC.,
 6                    Plaintiff,
 7              v.                                 CIVIL ACTION NO.
 8        VIVINT SMART HOME, INC.                  3:20-CV-00504-FDW-DSC
 9        f/k/a Mosaic Acquisition
10        Corp; and LEGACY VIVINT
11        SMART HOME, INC., f/k/a
12        Vivint Smart Home, Inc.,
13                    Defendants.
14        ________________________________
15                           VIDEOTAPED DEPOSITION OF
16                                JOSHUA CRITTENDEN
17        DATE:              Thursday, December 16, 2021
18        TIME:              4:08 p.m.
19        LOCATION:          Remote Proceeding
20                           Durham, North Carolina 27705
21        REPORTED BY:       Joshua Seagondollar, Notary Public
22        JOB NO.:           4997856
23
24
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 1           APPEARANCES                                           1        A P P E A R A N C E S (cont'd)
 2 ON BEHALF OF PLAINTIFF CPI SECURITY SYSTEMS, INC.:              2    ANDREW H. ERTESCHIK, ESQUIRE (by videoconference)
 3    CHARLES EBLEN, ESQUIRE (by videoconference)                  3    Poyner Spruill LLP
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 8    (816) 559-2139                                               8    (919) 783-6400
 9                                                                 9
10 ON BEHALF OF DEFENDANTS VIVINT SMART HOME, INC.                10    KENT WILLIAM HANSEN, ESQUIRE (by videoconference)
11 F/K/A MOSAIC ACQUISITION CORP; AND LEGACY VIVINT SMART 11            Vivint, Inc.
12 HOME, INC., F/K/A VIVINT SMART HOME, INC.:                     12    4931 North 300 West
13    MATTHEW A. STEWARD, ESQUIRE (by videoconference)            13    Provo, Utah 84604
14    Clyde Snow & Sessions, P.C.                                 14    kent.hansen@vivint.com
15    One Utah Center, 22nd Floor                                 15    (801) 705-8054
16    201 South Main Street                                       16
17    Salt Lake City, Utah 84111                                  17 ALSO PRESENT:
18    mas@clydesnow.com                                           18    DeAndrae, Videographer (by videoconference)
19    (801) 433-2401                                              19    Savannah Young, Clyde Snow & Sessions, P.C.
20                                                                20    (by videoconference)
21                                                                21    Emma Tanner, Clyde Snow & Sessions, P.C.
22                                                                22    (by videoconference)
23                                                                23    "jsmuckler" (by videoconference)
24                                                                24
25                                                                25

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 1         A P P E A R A N C E S (cont'd)                          1               INDEX
 2     PAULA M. CASTRO, ESQUIRE (by videoconference)               2   EXAMINATION:                                   PAGE
 3     Greenberg Traurig LLP                                       3     By Mr. Eblen                           6
 4     450 South Orange Avenue, Suite 650                          4
 5     Orlando, Florida 32801                                      5                EXHIBITS
 6     castrop@gtlaw.com                                           6   NO.         DESCRIPTION                 PAGE
 7     (407) 420-1000                                              7   Plaintiff 245 Article               44
 8                                                                 8   Plaintiff 246 Article               47
 9     GREGORY W. HERBERT, ESQUIRE (by videoconference)            9   Plaintiff 247 Article               48
10     Greenberg Traurig LLP                                      10   Plaintiff 211 2018 Competitions Rule Book   50
11     450 South Orange Avenue, Suite 650                         11   Plaintiff 95 List of Videos           64
12     Orlando, Florida 32801                                     12
13     herbertg@gtlaw.com                                         13           (Exhibits retained by counsel.)
14     (407) 420-1000                                             14
15                                                                15
16     STEVEN EPSTEIN, ESQUIRE (by videoconference)               16
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23                                                                23
24                                                                24
25                                                                25

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 1                PROCEEDINGS                                    1       A Yes. We have a team that is, curates the
 2              MR. EBLEN: Matt, do we want to                   2   videos and, and films in the, or our sales leaders
 3   stipulate just to proceed without the read-on, and we       3   films videos. Yes.
 4   can get the witness sworn in and going?                     4       Q Are you involved in that process?
 5              MR. STEWARD: Yes, please. I -- just,             5       A Yes. Not, not in every video, and, you
 6   I've got a hard stop at four.                               6   know, scripting everything, but yes. That's, that
 7              MR. EBLEN: Okay.                                 7   team does report to me.
 8              MR. STEWARD: So yes.                             8       Q So you're able to have some influence over
 9              THE REPORTER: All right, then.                   9   the content of the training videos for the sales
10              Please raise your right hand.                   10   force. Is that fair?
11   WHEREUPON,                                                 11       A Yes. It's a collaboration with the sales,
12                 JOSHUA CRITTENDEN,                           12   the field, our legal teams. It's pretty
13   called as a witness, and having been first duly sworn      13   collaborative, but there's a lot of people that have a
14   to tell the truth, the whole truth and nothing but the     14   hand in that.
15   truth, was examined and testified as follows:              15       Q Are you involved in any direct sales
16              THE REPORTER: Thank you. Counsel, you           16   training to the sales force? And when I say direct,
17   may proceed.                                               17   do you provide any in-person training to anyone within
18                   EXAMINATION                                18   the sales organization?
19   BY MR. EBLEN:                                              19       A Yeah. Throughout the, the, the year I'll
20       Q Could you introduce yourself, please, for            20   travel and visit teams. Usually it's motivational,
21   the jury?                                                  21   informational. You know, most of the sales training
22       A Yes. This is Josh Crittenden.                        22   on how to approach a customer, how to sell the
23       Q And, Mr. Crittenden, what's your position at         23   customer, are done by our sales leaders in the field.
24   Vivint?                                                    24       Q And when you say sales leaders in the field,
25       A Currently a senior vice president of sales           25   that would be the regional managers and the managers.
                                                       Page 7                                                          Page 9
 1   and direct-to-home organization.                            1   Is that fair?
 2      Q Could you give us just an outline of your              2        A That's correct.
 3   work history at Vivint?                                     3        Q How many manager -- or how many regional
 4      A Yeah. I came to Vivint a little over five              4   managers are there at Vivint right now?
 5   years ago, and I've held various positions in the           5        A So we have, we're ranging from 50 to 60
 6   sales organization. And about, approximately about a        6   depending on how you classify it but all varying in
 7   year ago, and I'm in the current position where I'm         7   size of how many teams and sales reps they're
 8   the vice president over our sales and direct to home.       8   responsible for.
 9   So multiple sales channels, like, specifically over         9        Q And as I understand the process, managers
10   our direct-to-home sales channel.                          10   and regional managers are also involved in recruiting
11      Q Have you ever sold door to door for Vivint?           11   new representatives to Vivint. Is that accurate?
12      A Not for Vivint. No.                                   12        A Yes.
13      Q With any other security company?                      13        Q And are you also involved in some of the
14      A No. Not security industry. No.                        14   video and social media content that's used to recruit
15      Q What are your current job duties?                     15   new sales representatives?
16      A So -- across my organization, really                  16              MR. STEWARD: Objection. Form.
17   everything that it entails to support the sales force      17   Foundation.
18   and sending 4,000 sales reps out to summer. So we          18              If you -- Mr. Crittenden, from time to
19   have a housing department. We have a department that       19   time I may lodge an objection for the record. Unless
20   covers, has assets for the sales reps and, well,           20   I instruct you not to answer, and if you still have
21   physical iPads and sales slicks, pay scales.               21   the question in mind, go ahead and answer. Sometimes
22   Everything that the sales force needs to be supported      22   it's disruptive, and I apologize for that, and
23   to do their job.                                           23   sometimes it causes the witness to no longer have the
24      Q Are you involved in the training of the               24   question in mind. And you're free to ask Mr. Eblen to
25   sales force?                                               25   re-ask it if that's the case.

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 1              THE WITNESS: That's okay. Yeah. So              1       A No. There's no compensation tied to, to
 2   there's a variety of content that we create to, for        2   signing somebody up to do summer sale, our sales
 3   recruiting. And so, yes, I'm involved in with that,        3   program. The compensation's based on the overall
 4   but we have video teams, we have training teams, and       4   production and quality of that production of their
 5   the sales forces involved, so I, I do put, but do have     5   teams.
 6   a role in that. Correct.                                   6       Q What did you do to prepare for your
 7   BY MR. EBLEN:                                              7   deposition today?
 8      Q And as I understand it, individual regional           8       A I had actually a pretty busy day, but I've
 9   managers can also create some of their own material to     9   spoken to our attorney, Kent, to ask him what --
10   help recruit new Vivint sales reps. Is that accurate?     10              MR. STEWARD: Wait, wait, wait, Josh.
11      A Yes.                                                 11   Josh. Josh. You can tell Mr. Eblen that you spoke
12      Q But some of that is done, from time to time,         12   with Mr. Hansen, but I do not want you to reveal any
13   on social media. Correct?                                 13   of the content of that discussion.
14      A Correct. We don't control our sales reps'            14              THE WITNESS: Sorry.
15   social media pages specifically, so there's content       15   BY MR. EBLEN:
16   that, you know, we don't have involvement in. But         16       Q Did you do anything else to prepare?
17   yes. You know, each of our sales reps often post on       17       A I have not.
18   their individual personal pages that we don't have the    18       Q Were you provided --
19   ability to control.                                       19              MR. HANSEN: So --
20      Q And as I also understand it, compensation            20              MR. EBLEN: Go ahead.
21   for managers is influenced somewhat by how well their,    21              MR. HANSEN: -- Matt -- part of
22   or how productive their sales recruits are during a       22   conversation as well.
23   typical year. Is that accurate?                           23              MR. EBLEN: What's that?
24      A Their compensation is driven by the number           24              MR. HANSEN: This is Kent. I'll
25   of accounts that their, their downline and their sales    25   interject that Matt was part of the conversation as
                                                     Page 11                                                           Page 13
 1   teams produce, not necessarily the productivity of         1   well.
 2   each individual rep but in, in whole.                      2              MR. EBLEN: Okay. All right.
 3      Q How many sales representatives are under the          3   BY MR. EBLEN:
 4   umbrella of some of the, you know, say the top three       4       Q At any point in time were you provided with
 5   regional teams?                                            5   a spreadsheet, an Excel spreadsheet, that has
 6              MR. STEWARD: Objection. Form.                   6   hyperlinks to some Vimeo training videos?
 7   Foundation.                                                7       A I believe Mr. Hansen -- I, he, I saw it on
 8      A So we'll have -- again, we have some --               8   his computer. I believe he may have sent it to me. I
 9   they, they range in size, so the largest would have,       9   have not had a, the opportunity to review it yet, so I
10   potentially, up to a hundred or several hundred in        10   apologize. I've not reviewed that.
11   their, their overview.                                    11       Q Are you generally familiar with the content
12      Q Do you have any idea in what the rough               12   of the training videos that are up on the Vivint Vimeo
13   average is for the size of a regional team?               13   site?
14      A A regional team -- again, they, they vary in         14       A Generally, yes. I, I think there's,
15   size. You can go through exactly how the                  15   there's, there's a lot on there, so you would have to
16   organization's structured, but there'll be anywhere       16   reference specific ones, and we could, we could see,
17   from two to three teams, and teams constitute of          17   but I think generally, yes.
18   anywhere from 20 to 50 sales representatives.             18       Q You did look at the spreadsheet, though,
19   Regional manager could have 3 and high as, you know,      19   that was provided in connection with this case that
20   10, 20. So we have -- again, there, there's varying       20   has a hyperlink to a number of videos that go back
21   sizes of when you call, to refer to someone as a          21   three or four years.
22   regional. A regional is anyone who manages, you know,     22       A I, I did not review every, every line in
23   multiple teams.                                           23   that. I know Kent had that in reference that he had,
24      Q Are managers compensated simply for                  24   which he provided, and I have not reviewed all of
25   recruiting a new sales representative?                    25   those videos or, or read through all of them, though.

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 1        Q Let me go ahead and share my screen with            1   videos?
 2   you, here.                                                 2       A Yes. That appears to --
 3        A Okay.                                               3       Q -- go ahead.
 4        Q All right. Mr. Crittenden, are you able to          4       A -- prior sales year.
 5   see the spreadsheet that's in front of you?                5       Q And there was, there's also one for 2021.
 6        A Yes.                                                6   But my question, just generally, is, what type of
 7        Q And does the form of that look similar to           7   training is offered, and what is the purpose of that
 8   what you reviewed to prepare for your deposition?          8   series of videos?
 9        A Yes. I believe that is.                             9              MR. STEWARD: Objection.
10        Q And I'm just going to scroll through here.         10              THE WITNESS: --
11   The way it looks like this is broken down is there's,     11              MR. STEWARD: I'm sorry. Objection.
12   on the left column there's a video title, and then you    12   Form. Foundation.
13   see that, kind of, gold heading there. It looks like      13              THE WITNESS: Yeah. They're, that is
14   it's separated by years. Do you see that?                 14   the "Thirty Days to Pro." Those are released to our
15        A Mm-hmm.                                            15   sales reps for the first 30 days of summer. They're
16        Q So if you scroll down, you know, say to,           16   our typical selling season. And there's motivation,
17   looks like entry 107, that would appear, at least         17   there's specific trainings. It's a variety of
18   based on the structure of the spreadsheet, to capture     18   content, but there's, they're released every day and
19   the training videos that Vivint offers to sales           19   throughout the first 30 days of the summer program.
20   representatives from 2021. Is that accurate?              20   BY MR. EBLEN:
21        A That, that's what it appears to be. Yes. I         21       Q How are those accessible to the sales force
22   didn't create the spreadsheet, but that, that does        22   during the first 30 days of summer?
23   appear what that's, how it's laid out.                    23       A So a link is texted out to the sales rep to
24        Q And so obviously we're not going to, in this       24   our LMS system, and they go on, and they view it in
25   deposition, go through every video because there are      25   the, our, inside our LMS.
                                                     Page 15                                                     Page 17
 1   hours upon hours of content, but the videos that are       1       Q Is that through an iPad that they are given
 2   contained in these hyperlinks on Vimeo, those would be     2   by Vivint?
 3   authorized training videos created by Vivint for sales     3       A Yes.
 4   representatives. Correct?                                  4       Q Are there other ways other than the
 5             MR. STEWARD: Objection. Form.                    5   Vivint-issued iPad that they're able to access this
 6   Foundation.                                                6   content if they want to?
 7      A So there, there's a lot, obviously as you             7       A Yeah. So our training platform can be
 8   see here, there's a lot of videos. I would need to go      8   accessed from any device. They have to log in to
 9   through each one to make sure that they were all           9   Vivint. It's behind Okta, which is how we verify that
10   authorized, but from the few that I'm just                10   those viewing it are Vivint's sales representatives
11   spot-checking, I believe those are authorized videos.     11   that are authorized.
12      Q You don't have any reason to believe that            12       Q Did you watch any of the 30-day, DTP series
13   the spreadsheet that counsel for Vivint produced in       13   in preparation for your deposition today?
14   this case would contain unauthorized videos of Vivint.    14       A No.
15   Correct?                                                  15       Q All right. I'm going to click on day three
16      A No. I don't have reason to believe that.             16   of the, looks like it was a April 28, 2020, video
17      Q Okay. All right. So I won't go through,              17   called "Prospecting". Are you familiar at all with
18   even, the structure of all of this, but if you go         18   the content of this video?
19   down, then, to, you see on row 108, there's 2020          19       A I'm not --
20   videos. Do you see that?                                  20             MR. STEWARD: Hey, Charlie, just
21      A Yes.                                                 21   because they're bundled by year and you're in a
22      Q And then one of the series of videos I'm             22   particular year, would you just identify the row for
23   looking, starting on line or -- let's see here -- row     23   the record so that the --
24   273, it goes up to 243. Looks like a 30 DTP training      24             MR. EBLEN: Yeah. Sure. It's row 270.
25   course. Are you familiar with that bundle of training     25             MR. STEWARD: Okay. Thank you.

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 1              MR. EBLEN: Yep.                                  1       A Yeah. You, I mean, you've watched. You saw
 2              THE WITNESS: Charlie, based on laid              2   the library videos. There's a number of videos and
 3   out, this does appear to be a prior sales season.           3   different trainings and approaches that we train on.
 4   Right? What sales year is this?                             4   The, and some of our sales reps have different
 5   BY MR. EBLEN:                                               5   approaches -- this approach here is training that that
 6       Q Yeah. This is from 2020.                              6   is one way to overcome certain objections. As you saw
 7       A Okay.                                                 7   in the video, they're, they're identifying a customer
 8       Q All right. Let me take this down                      8   who sees a need in a secure, home security system and
 9   temporarily, and then I'm going to share my screen and      9   also someone that has the values that are willing to
10   go to that video that I clicked on that should now be      10   pay for it. So that, that is one way that our sales
11   open on my browser, here. Okay. I'm going to let           11   reps, representatives, will train.
12   this play for a little bit and then ask you some           12       Q At least that's how it was trained in this
13   questions about some of the content. Okay?                 13   video. You agree with that?
14              (Video played.)                                 14       A This video, yes.
15   BY MR. EBLEN:                                              15       Q You would agree that the, in the scenario
16       Q Before it keeps going, are you able to hear          16   that's being trained there, the existing alarm
17   it okay?                                                   17   provider already has legitimacy that the person
18       A Actually cuts out quite a bit.                       18   knocking on the door does not have. Correct?
19       Q Okay. Try it again.                                  19       A Can you restate the question?
20              (Video played.)                                 20       Q Sure.
21   BY MR. EBLEN:                                              21       A I didn't understand what you're ...
22       Q Okay. Were you able to watch the first four          22       Q Yeah. No problem. So as it relates to
23   minutes of that video okay?                                23   legitimacy in approaching a home that already has an
24       A Yes.                                                 24   alarm system or an existing alarm provider, the
25       Q Do you agree that legitimacy is the number           25   company that that homeowner has already chose to
                                                      Page 19                                                         Page 21
 1   one objection to overcome for Vivint door-to-door           1   entrust with its security already has legitimacy with
 2   sales reps?                                                 2   the homeowner. Correct?
 3       A I, I think that it's something we                     3              MR. STEWARD: Object as to form.
 4   continually are investing in and trying to build our        4   Foundation, vague, and calls for speculation.
 5   brand, differentiate who we are, but I think it's           5   BY MR. EBLEN:
 6   often depending on where the sales representatives are      6       Q You can answer.
 7   knocking, the maybe lesser known name, and also when        7       A Yeah. I, I, I don't know what the customer
 8   you're knocking on somebody's door, they're not             8   would assume. They, they may or may not be happy or
 9   expecting you to be there. I, I think certainly that        9   very familiar with the security system or the company
10   is a, an objection that needs to be overcome to help a     10   that's providing it. You, you're asking me to make
11   customer understand why you're there and what value        11   some assumptions there.
12   you have to offer to them. I don't know if it's the        12       Q Yeah. Well, I think, though, it, you would
13   number one, but it's --                                    13   agree that in order for the homeowner to initially
14       Q In the --                                            14   choose the alarm company that it chose, that company
15       A -- yeah.                                             15   already had to overcome the legitimacy objection
16       Q Sure. In the 30-day direct to pro training,          16   that's being outlined in this video. Right?
17   legitimacy is offered as the number one objection.         17       A Yeah. I, I don't know, again, how the
18   Correct?                                                   18   customer acquired the security system, when they moved
19       A Yes.                                                 19   in it was there or -- I mean, there's a variety of
20       Q And in order to minimize the overall number          20   ways that customer could be a customer. I don't, I,
21   of objections that potential customer may have, Vivint     21   I, I really don't know what, what they would've done
22   trains that sales reps should focus on homes with an       22   to make that decision.
23   existing alarm system and two cars in the driveway.        23       Q Well, part of what -- you would agree, part
24   Correct?                                                   24   of what's being trained here is that in order to get
25             MR. STEWARD: Object as to form.                  25   to making a sale, you need to be able to ensure that

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 1   you can overcome all five of those objections. Is           1   service from that customer, so, or from that prior
 2   that fair?                                                  2   company. So we, we, we train our sales
 3      A Yes. You need to overcome, you know,                   3   representatives to clearly articulate who they're
 4   certain customers' objections to be able to get a           4   with, that they're with Vivint, and what we're
 5   sale. Yes.                                                  5   providing. There's a reason we're ask, we would, and
 6      Q Wouldn't you agree that the company that's             6   we would train a sales representative to sell them
 7   already being hired by the homeowner in order to gain       7   Vivint even though they have a, a prior, another
 8   the homeowner's business would've also had to overcome      8   customer's product. Sorry. Another company's
 9   those same objections?                                      9   product. So no, we would, we do not train our sales
10              MR. STEWARD: Objection. Form,                   10   representatives to infer that they're with any other
11   foundation, calls for speculation, and assumes facts       11   company if that's what you're suggesting.
12   not in evidence.                                           12      Q No. I'm not asking if that's trained. I'm
13      A Yeah. I, I apologize. I really wouldn't               13   -- my question is, as it relates to legitimacy and
14   speculate on why the customer bought with the, our,        14   overcoming this legitimacy objection, do you agree
15   our competitor. We, we train our sales                     15   that if the homeowner believes that the Vivint sales
16   representatives to, you know, talk about who Vivint is     16   rep has an affiliation with the existing alarm
17   and the differentiating factors that bring, that           17   provider that that would be one way to overcome the
18   Vivint brings, and we, we know that customers often        18   legitimacy objection?
19   have service providers that are other than Vivint,         19              MR. STEWARD: Objection. Form,
20   and, but we do know that our, our service and our          20   foundation, calls for speculation, and assumes facts
21   product is far superior, and so yeah.                      21   not in evidence.
22          I, I don't -- again, I don't know why a             22   BY MR. EBLEN:
23   customer would buy with a competitor. I don't know         23      Q You can answer.
24   what that competitor or the, how the customer acquired     24      A Yeah. I'm, I'm sorry. It, it, again,
25   their system through that competitor. But again, our,      25   you've asked this question a couple different ways. I
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 1   our trainings, we'll focus our sales representatives        1   -- that is not how we would train our sales
 2   on what differentiates Vivint and the value of Vivint.      2   representatives to approach a customer, and it would
 3   We spend a lot of money and time in innovating our          3   not -- yeah. No. No. I do not think that is the
 4   products and services. We hold numerous patents for         4   way. We do not train that way, and that is not how we
 5   the products and services we have. Our sales                5   would approach a customer.
 6   representatives are proud of, you know, the products        6       Q All right. Let me go back to the
 7   that we have, and we're very proud of, you know -- you      7   spreadsheet real quick, here.
 8   know, I, I have one, a system in my home, and I, I'm        8       A Okay.
 9   very proud of what we have.                                 9       Q You see day 5, one of the things that's
10          So I, I don't, I don't -- again, you're             10   trained is transitioning into the house. Are you
11   asking me to speculate why somebody would buy a            11   familiar with that?
12   competitor's product and whether they, that company's      12       A I don't see your screen anymore.
13   more legitimate than Vivint. I, I -- maybe I'm not         13       Q Oh. I apologize. I forgot to click on it.
14   understanding your question, but you may, maybe            14   How about now?
15   restate it.                                                15       A That's all right. Not yet. There we go.
16      Q Do you agree that where a homeowner believes          16   Yes.
17   that the Vivint sales representative is affiliated         17       Q All right. Do you see on row 268, day 5,
18   with the homeowner's existing alarm company, that          18   there's a training session called "Transitioning into
19   would be one way for the Vivint sales rep to overcome      19   the Home"? Do you see that?
20   the legitimacy objection?                                  20       A Yes. Yes.
21               MR. STEWARD: Objection. Form.                  21       Q Do you agree that before a Vivint sales
22   Foundation. Calls for speculation.                         22   representative goes into a customer's home that the
23      A Our, we would not want the customer to                23   sales representative should get the customer's express
24   believe that we're with their current provider. We         24   approval to enter the home?
25   don't believe they're being provided a very good           25       A Yes. And that could -- yes. I believe you

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 1   need permission.                                            1       Q And all I'm asking is, do you think that
 2       Q All right. I'm going to go ahead and click            2   that training is an ethical way to do door-to-door
 3   on this one. And hold one. Let me stop my screen            3   sales?
 4   share, and I'll go over to the video. Okay. Can you         4              MR. STEWARD: Objection. Form. Asked
 5   see my browser again?                                       5   and answered.
 6       A Yes.                                                  6       A Yeah. I, I think as I previously stated,
 7       Q All right. Let me start this one over.                7   the sales rep is, is -- is in that training, there,
 8              (Video played.)                                  8   Danny's training the sales reps on how to help
 9   BY MR. EBLEN:                                               9   customers feel comfortable with that. They, there's
10       Q Do you agree that in that video Vivint               10   nothing, he's not training them to lie or deceive the
11   trained to not ask the customer for express approval       11   customer. In my opinion as I watch, I don't see where
12   to get in the home?                                        12   he's, would train them to deceive or lie to the
13              MR. STEWARD: Objection. Form.                   13   customer.
14       A Yeah. So through that trainings you can see          14       Q Okay. So you think that video trains an
15   he's, he's seeking to get, you know, you have express      15   ethical sales practice. Correct?
16   and implied consent, and so he's, he's seeking for         16       A Yeah. I think the, in the training Danny's
17   those nonverbal cues from the customer welcoming him       17   explained one way to help customers open up their home
18   into the home. So we, we do not train customers --         18   and welcome you into the home.
19   you heard him say, there, don't rush into the home,        19       Q Is Danny -- is he still with Vivint?
20   don't rush the customer. He's working for those cues       20       A Danny is still with Vivint. He's no longer
21   to make a customer feel very comfortable with the          21   a manager. He's, he, he moved to, away from his main
22   sales representative being there, giving him a reason      22   hub, and he doesn't, he no longer manages, but he
23   to be there. But yeah. We, we -- and as you heard          23   still does sale ...
24   through the training, it's very, you know, you're,         24       Q Was he a manager or regional manager?
25   you're trying to help the customer feel comfortable.       25              MR. STEWARD: -- form. Foundation.
                                                      Page 27                                                         Page 29
 1   Right? And that can come through express and implied        1             MR. HANSEN: -- Josh needs to plug into
 2   consent.                                                    2   power for a second.
 3       Q And using the different terms that you did,           3             MR. EBLEN: Oh.
 4   you would agree that this gentleman in the Vivint           4             THE WITNESS: I apologize.
 5   training video trains not to seek express verbal            5             MR. EBLEN: Yeah. No problem.
 6   consent. Correct?                                           6             THE WITNESS: We're good. Charlie,
 7               MR. STEWARD: Objection. Form.                   7   could you say that question one more time, sir?
 8       A I mean, we both watched the same video.               8   BY MR. EBLEN:
 9   He's, he's training the customer or training the sales      9      Q Yeah. No problem. Was Danny a regional
10   reps to again get, help the customer feel comfortable      10   manager or a manager?
11   with you being on their doorstep and in the home and       11             MR. STEWARD: And I -- my objections.
12   giving you a reason why. He's, you know, again,            12   Form, foundation, and just vague as to time frame.
13   you're looking for verbal and nonverbal cues of that.      13      A Yeah. I, I don't recall the exact date on
14       Q Do you think there's anything dishonest or           14   that video, but Danny has not been a regional manager
15   unethical about that training video?                       15   for Vivint.
16       A Yeah. As you watch the training video, like          16      Q And the video that we watched, like that
17   I said, it's, he's, you know, they're, we're, he's         17   whole series, is an approved Vivint sales video.
18   trained not to. You don't want the customer to feel        18   Correct?
19   uncomfortable. We're not lying about why we're there.      19      A Yes.
20   We're not, we're, we're telling them honestly why          20      Q All right. I'm going to go share my screen
21   we're there. He's talking about the security system,       21   one more time. As I'm in the process of doing that,
22   where you want to put the sensors. And so he's giving      22   you agree that sales managers and regional managers
23   the customer a reason to say, an opportunity to say no     23   have influence over how their sales reps sell.
24   but also a reason for him to be in the home and            24   Correct?
25   explain that to the customer.                              25      A Yes. Our sales managers and sales regionals

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                                                   Page 30                                                       Page 32
 1   do.                                                     1    Foundation.
 2       Q And you agree that Vivint's sales                 2    BY MR. EBLEN:
 3   representatives look up to and emulate successful       3        Q You can answer.
 4   managers and regional managers?                         4        A Yeah. I haven't gone through every, every
 5              MR. STEWARD: Objection. Form.                5    training video, but I would, I actually couldn't tell
 6   Foundation. Calls for speculation as well.              6    you what one but it, I've heard that often. Yes.
 7       A Yeah -- yeah. I would say you're, you're          7        Q Do you believe that's true?
 8   asking me to speculate on, on what, you know, our       8               MR. STEWARD: Objection. Form.
 9   specific sales representatives do, but we, we have a 9           A I, I, it, it's one of those clichþ sayings,
10   variety of sales -- trainings -- different, different  10    and I, I think it sounds good. I, I think it's a,
11   methods, so there's a variety of content we provide. 11      there's a principle behind it that's kind of teaching
12       Q You agree Vivint trains sales                    12    people to, like -- the, the little things matter is --
13   representatives to not reinvent the wheel and use the 13     kind of the principle behind it.
14   sales models that have proven successful for more 14             Q Do you think that that motto also holds true
15   senior managers?                                       15    for people who choose not to sell the right way?
16              MR. STEWARD: Objection. Form,               16               MR. STEWARD: Objection. Form.
17   foundation, and vague.                                 17        A I -- you're ask, you're asking for an
18       A So I, I've, you've watched, it looks like a      18    assumption on that. I, I, I don't know all aspects of
19   -- a lot of our videos. We do have a base, you know, 19      each individual's lives. I, I'm not sure where you're
20   set of trainings that we provide. We have certain      20    going with that one.
21   required trainings as well, so we have a foundation 21           Q Do you agree that it would be reasonable to
22   that we train all sales representatives to follow, and 22    believe that sales representatives who got caught
23   I think you have access to our required trainings.     23    engaging in some sort of a deceptive sales practice,
24       Q All right. And you see the spreadsheet           24    that that was not the first time or only time that the
25   again, Mr. Crittenden?                                 25    representative behaved in that manner?
                                                   Page 31                                                       Page 33
 1       A Yes, sir.                                          1              MR. STEWARD: Objection. Form.
 2       Q Okay. I'm going to -- I'm on row 257. Do           2   Foundation. Calls for speculation.
 3   you see that? "Integrity in Presenting". Day 16.         3       A Yeah. I mean, so you would be kind of
 4       A Yes.                                               4   speculating on a lot of assumptions there. I think if
 5       Q All right. And I'm going to take that down.        5   you have a specific case or situation, we could, we
 6       A Sure.                                              6   could -- this -- speak to a specific. But ...
 7       Q And I'll share my browser again. All right.        7       Q Do you agree that if you applied the motto
 8   Can you see my browser again?                            8   "how you do one thing is how you do everything"
 9       A Yep. Just -- there we go.                          9   literally that for those sales representatives who
10       Q All right. I'm going to go ahead and -- I'm       10   were known to have a history of deceptive sales
11   not going to play all of this one. I'm going to play    11   practices, that they probably do it often?
12   a chunk of it and ask you a couple questions.           12              MR. STEWARD: Objection. Form.
13             (Video played.)                               13   Foundation. Calls for speculation.
14   BY MR. EBLEN:                                           14       A Yeah. I, I -- this is, I mean, it is not a
15       Q All right. So we watched about two minutes        15   literal statement. I think, again, the principle
16   of that video on integrity. Did you hear that last      16   behind it is that little, the little things matter and
17   quote? "How you do one thing is how you do              17   to kind of -- you -- I mean, you heard a lot of -- he
18   everything."                                            18   had a lot of other sayings in there on, you know,
19       A Yes.                                              19   integrity and building trust with the customer and,
20       Q Is that a motto that you've heard before at       20   and speaking honestly and trustworthy. So -- but no.
21   Vivint?                                                 21   I do not think it's a literal statement, and I don't
22       A Yeah. I've heard that before. Yes.                22   think ever, you know, customer or a sales rep can be,
23       Q And that's in other training videos as well.      23   like, classified or characterized by one thing they
24   Right?                                                  24   did.
25             MR. STEWARD: Objection. Form.                 25       Q Did --

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  1      A Again --                                               1        Q Okay. Any names that you can think of?
  2      Q Go ahead.                                              2        A None, none off the top of my head and would
  3      A I'll just say if you have a specific sales             3   want to make sure it's pertinent to this situation
  4   rep or question, we could maybe speak to that.              4   before I use any names.
  5      Q Does Vivint agree with the Mark Twain quote            5        Q Could you give me just an estimate, in your
  6   that was read at the start of that training session?        6   recollection, of how many you've recommended the
  7             MR. STEWARD: Objection. Form.                     7   termination of in your tenure at Vivint?
  8      A What was the quote?                                    8        A Honestly I, I'd be guessing off the top of
  9      Q It was about if you tell the truth, then you           9   my head. It, I, I don't have a number off the top of
 10   don't have anything to remember.                           10   my head. I apologize.
 11      A Yeah. I think that's a, you know, more --             11        Q No problem. But could you provide any
 12   what Mark Twain's referencing is you wouldn't have to      12   estimate? Is it more than a hundred?
 13   remember why, specifically, and so it's, think it's a      13        A No. I do not believe it would be more than
 14   good motto to, motto. I like that.                         14   a hundred.
 15      Q All right. I'm going to share my screen.              15        Q More than a dozen?
 16   While I'm doing this, have you, in your role, ever had     16        A Yes.
 17   any involvement in investigating whether sales             17        Q More than 50?
 18   representatives commit deceptive sales practices?          18        A Yeah. Probably around, you know, I've been
 19             MR. STEWARD: Object as to form. And,             19   here ten, been five years -- probably five to ten
 20   Charlie, you -- 30(b)(6) notice, as you know, defines      20   years. But again, our, these investigations are
 21   deceptive sales practices very specifically, and I         21   handled by our compliance team. They go through
 22   think in fairness you need to ask this witness or          22   those, and they primarily handle that -- occasionally
 23   inform this witness if you're referring to that            23   they, you know, come to me before it gets to them, and
 24   definition.                                                24   I'll, I'll send the investigation to them to make sure
 25             MR. EBLEN: You know what? Why don't I            25   that there is a proper and thorough investigation of
                                                       Page 35                                                         Page 37
  1   -- I'll back up and ask a different question.               1   the sales rep and, and, or actually the practice
  2   BY MR. EBLEN:                                               2   they're investigating.
  3       Q Mr. Crittenden, you're aware that Vivint              3      Q All right. I'm now looking at rows 503 to
  4   has a code of ethics and a code of compliance. Right?       4   510.
  5       A Yes.                                                  5      A Okay.
  6       Q Have you ever been involved, in your role,            6      Q Are you familiar with that particular sales
  7   in investigating whether or not sales representatives       7   manager, Otto Zelaya?
  8   have violated Vivint's code of ethics or code of            8      A I'm familiar with him. He no longer is a
  9   compliance?                                                 9   sales representative of ours.
 10       A Yes. Primarily investigations like that are          10      Q When did he leave?
 11   done by our compliance team, but they will often ask       11      A I do not know the date off the top of my
 12   questions and, about a specific sales rep or how           12   head.
 13   difference, you know, the sales transactions and our       13      Q He was a manager. Correct?
 14   sales tools or about their character. And so I, I've       14      A I believe he was a, a manager with us. I
 15   been involved in some of those. But again, the             15   believe he was.
 16   investigations are done and handled by our compliance      16      Q And it would appear from the spreadsheet
 17   team.                                                      17   that was produced that he taught sales training
 18       Q Have you ever recommended the termination of         18   courses at Vivint. Correct?
 19   any sales representative for a deceptive sales             19      A Yes. It looks, looks like it's quite a
 20   practice or compliance violation?                          20   while ago, but based on how the spreadsheet's been
 21              MR. STEWARD: Objection. Form,                   21   organized I believe that would be a few years, a few
 22   compound, and vague as to deceptive sales practice.        22   years ago.
 23       A If you're asking if I've ever recommended            23      Q Was Mr. Zelaya terminated for compliance or
 24   that we terminate a sales rep, yes, we have. I             24   code of ethics violations?
 25   personally have. Yes.                                      25             MR. STEWARD: Objection. Form.

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  1   Foundation.                                                 1   previously, if we acknowledge of this, you know,
  2      A I'm not familiar with the conditions around            2   compliance-related issues with the sales
  3   his termination.                                            3   representative or leader, we would not have them do
  4      Q In your role were you aware that Mr. Zelaya            4   trainings, and that we would be public -- public or,
  5   had problems with code of ethics or compliance              5   or recorded. And again, all actions that we get
  6   violations?                                                 6   reported, our compliance team reviews those and, and
  7      A Like I said earlier, I, I, I'm not familiar            7   deems appropriate, you know, actions.
  8   with the, his termination and his departure. He, it         8       Q All right.
  9   was a number of years ago. Was in a different role at       9       A Applies those.
 10   that time.                                                 10       Q Do you see row 523? There's a video called
 11      Q All right. If you go down on the                      11   "The Porsche Incentive". What was that?
 12   spreadsheet to 519, do you see where it says "Jason        12       A It looks like it was filmed a while ago. I,
 13   Newby full sale"?                                          13   I do not recall, but I do know we'll do different
 14      A Yes.                                                  14   incentives that will give, provide a sales
 15      Q And Jason Newby, you know, was a regional             15   representative a lease to a car.
 16   manager at Vivint. Right?                                  16       Q All right. So do you believe in this
 17      A Yes. Jason Newby had two or three teams               17   instance "The Porsche Incentive" related to a sales
 18   that he did manage.                                        18   incentive that would provide a Porsche lease to the
 19      Q And Mr. Newby was terminated from Vivint in           19   sales representative that won the contest?
 20   2020 for deceptive sales practices. Correct?               20             MR. STEWARD: Objection. Form.
 21             MR. STEWARD: Objection. Form.                    21   Foundation. Calls for speculation.
 22   Foundation.                                                22       A I wouldn't want to speculate without
 23      A That is correct. He was terminated for                23   watching the video, but again, I can't recall every
 24   cause.                                                     24   video that we've created.
 25      Q Do you agree that the folks who are used to           25       Q But again, as with all of these links that
                                                       Page 39                                                          Page 41
  1   train other Vivint sales representatives through these      1   were provided in litigation through counsel, you don't
  2   videos are people that sales representatives would          2   doubt that any of the videos that are contained in
  3   look up to?                                                 3   this spreadsheet through the hyperlinks are official
  4              MR. STEWARD: Objection. Form. Calls              4   training videos of Vivint. Correct?
  5   for speculation.                                            5              MR. STEWARD: Objection. Form.
  6        A As you see, as you've gone through our               6   Foundation.
  7   trainings, we have a, a large number and variety of         7       A I don't have reason to believe that they
  8   sales reps that we use in our trainings, and at, you        8   were.
  9   know, we do our best to make sure that they have good       9       Q It looks like you've been involved in some
 10   sales practices and behaviors. At the point of us          10   of the training. I see 5/28, 5/29, there's buyouts
 11   doing this, we, there is a review process they go          11   and Fortiva training. Correct?
 12   through. We can't predict what they would do after         12       A Yes. Occasional. Yes.
 13   the fact or anything that we haven't seen, so it's,        13       Q Were you also in a video mountain biking and
 14   it's not unreasonable that you would have somebody         14   your knee got real torn up?
 15   that later, down the road, may commit some, commit         15       A Yes.
 16   something that would be "terminationable" or fireable,     16       Q Have you healed up from that?
 17   and you're correct. You're -- Jason Newby was              17       A Kind of. I'm getting a, I'm getting back.
 18   terminated for cause subsequent to this filming of         18       Q Okay. What is Fortiva?
 19   this training.                                             19       A Fortiva is one of our financing partners.
 20        Q Do you agree that it sets a bad example for         20       Q Is Fortiva still a financing partner?
 21   younger sales representatives to have a regional           21       A Yes.
 22   manager in training videos who has had problems with       22       Q And when you say financing partner, Fortiva
 23   compliance or deceptive sales practices?                   23   provides direct to consumer loans for the cost of the
 24              MR. STEWARD: Objection. Form.                   24   equipment. Is that right?
 25        A Yes. And, and again, like I, I stated               25       A Yes.

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  1      Q And that's the same thing that Citizens One            1       Q Okay. And just to identify it for the
  2   Bank also does. Is that correct?                            2   record, we've marked this as Plaintiff's Trial Exhibit
  3      A Yes. That's correct.                                   3   245. It's also marked Vivint 3660. Do you know what
  4      Q Is there any type of compensation that                 4   type of document this is?
  5   Vivint sales managers or representatives receive that       5             (Exhibit Plaintiff's 245 was marked for
  6   would not be reported on Vivint pay stubs?                  6             identification.)
  7             MR. STEWARD: Objection. Form.                     7             MR. STEWARD: In fairness, if you could
  8   Foundation. Calls for speculation and beyond the            8   kind of show it to him in a way he can at least scan
  9   scope of the 30(b)(6) notice.                               9   it, Charlie.
 10      A You're, you're asking me, is there any                10             MR. EBLEN: Yeah. Sure.
 11   compensation that is not reported on their pay stubs.      11             MR. STEWARD: It's not all on one page.
 12   So I, I do not, you know, report our sales                 12             MR. EBLEN: Yeah. I'll go through it
 13   representatives' pay stubs. I do not know how they         13   slowly.
 14   come up with those numbers. I would assume that it         14   BY MR. EBLEN:
 15   does include all of their compensation.                    15       Q Are you able to see the top of a page at
 16      Q All right. I'm going to stop sharing this             16   this point, Mr. Crittenden?
 17   screen and switch to some other documents. Give me         17       A Yes. Yes, I can. Yes.
 18   just a second, here.                                       18       Q All right. Scroll about halfway down and
 19             UNIDENTIFIED SPEAKER 1: Is this a good           19   see if you can see the rest of it. To me this appears
 20   time to take a break?                                      20   to be some type of internal Vivint news article
 21             MR. EBLEN: Yeah. That's fine. You                21   related to a sales competition. Is that right?
 22   want to take five minutes?                                 22       A Yes.
 23             UNIDENTIFIED SPEAKER 2: Yeah.                    23       Q And where are these articles accessible
 24             UNIDENTIFIED SPEAKER: 1: Yeah.                   24   within Vivint's databases?
 25             UNIDENTIFIED SPEAKER 2: Come back in             25       A Yeah, so these are posted on what's called
                                                       Page 43                                                           Page 45
  1   five. Thanks.                                               1   the Insider. Insider's a internal website that reps,
  2              MR. EBLEN: Okay.                                 2   representatives have to access with their Vivint login
  3              (Off the record.)                                3   and credentials, and we post a variety of things on
  4              THE WITNESS: Been recovering from a              4   there. This is, this would be one posted on there.
  5   cold so been taking some cough drops and water. So          5   Like you said, kind of, you know, internally written,
  6   ...                                                         6   kind of a news article if you will, reviewing a, one
  7              MR. EBLEN: No worries.                           7   of our preseason competitions is what it appears to
  8              MR. STEWARD: Hey, Charlie, can we just           8   be.
  9   clarify something? On the spreadsheet you asked him         9       Q And where it says, up at the top, upper
 10   about -- it has the 615 entries. I think you asked         10   right-hand corner there, it says "corporate everyone
 11   him if those were all training videos, and he agreed       11   sales". Do you see that?
 12   with you, but I don't think that's accurate. I think       12       A Yes.
 13   there certainly are training videos on the                 13       Q Does that mean that everybody within the
 14   spreadsheet, but I think it includes other videos. So      14   sales department at Vivint would have access to these
 15   if we could just clean that bit up, that would be, I       15   articles, at least during the time frame in which
 16   would appreciate it.                                       16   they're run?
 17              MR. EBLEN: Yeah. Let me -- I'll come            17       A I believe so.
 18   back to that. Let me go where my head is real quick,       18       Q And so one of the purposes of these types of
 19   and I'll get back to ...                                   19   articles that update about sales competitions and
 20              MR. STEWARD: Okay.                              20   things would be to promote the success of
 21   BY MR. EBLEN:                                              21   representatives who have done well in the
 22       Q All right. I'm going to share my screen              22   competitions. Is that accurate?
 23   with you, Mr. Crittenden. Are you able to see this         23       A Yeah. It reviews, you know, who competed,
 24   document okay?                                             24   and typically it gives a little, little bit of a
 25       A Yes.                                                 25   highlight on what happened.

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  1       Q Do you know Josh Coen?                           1        Q Was Josh Adams -- is he still with Vivint?
  2       A I'm familiar with Josh Coen. Yes.                2        A I, I'm familiar with the name. I do not
  3       Q A former regional manager of Vivint. Right? 3         believe he's with us, but I'd have to check our
  4       A Josh Coen was a manager. I don't believe he 4         records to verify.
  5   ever hit regional status, and I think, I think he had  5        Q Do you know if he was terminated for cause?
  6   a team that he managed while he was with us, but I 6            A Like I said, I don't, I'd have to check our
  7   don't ...                                              7    records to see if he is or is still with Vivint or
  8       Q Is Gunnar -- oh, sorry. Are you finished?        8    terminated. I don't, I can't recall everyone that's
  9       A Yeah. No, I'm fine.                              9    been terminated.
 10       Q Is Gunnar Thorderson or however you             10        Q The name Ogletree down here in the second to
 11   pronounce that, is he still with Vivint?              11    last paragraph, he was terminated for cause. Right?
 12       A I do not, I don't believe so. Like, I'd         12        A We've had a sales representative with the
 13   have to, have to check our system --                  13    last name of Ogletree work for us. Yes. And I
 14       Q And Mr. Coen was terminated for deceptive 14          believe he was terminated for cause.
 15   sales practices. Correct?                             15        Q Same with Kurtis Kunz?
 16             MR. STEWARD: Objection. Form.               16        A Kurtis Kunz I'm not as familiar with. I
 17       A I'm not familiar with all of the details        17    couldn't tell you.
 18   around his termination. Again, as I stated before,    18        Q All right. Let me go to -- this is
 19   our compliance team handles those and does those 19         Plaintiff's Exhibit 247. Do you see this one?
 20   investigations and terminations, so I'm not familiar 20                (Exhibit Plaintiff's 247 was marked for
 21   with the specific details of his, of his termination. 21               identification.)
 22   I do know, like you stated, he was terminated for     22        A Yes.
 23   cause.                                                23        Q And it looks like it's available to the same
 24       Q Okay. Got you. All right. I'm going to go 24          audience on Vivint's internal website. Is that fair?
 25   to P 246. Can you see that okay?                      25        A Yes.
                                                   Page 47                                                          Page 49
  1              (Exhibit Plaintiff's 246 was marked for      1      Q And if you go down to the bottom of this --
  2              identification.)                             2   well, actually, first, this is dated June 8, 2020.
  3       A I can. Yes.                                       3   Right?
  4       Q And it's essentially the same format as the       4      A Yes. That is what it appears.
  5   last article we looked at. Correct?                     5      Q Do you know Mr. Brandon McGrew?
  6       A Yes.                                              6      A I do not know him personally. No.
  7       Q And does the content of this also appear to       7      Q Do you see the second to the last question
  8   be reporting who's doing well in the Valentine's Day    8   in what appears to be an interview with him, what his
  9   championship?                                           9   goals are at Vivint? Do you see that?
 10       A Yes. That is what it appears to be.              10      A The second to last question? Yeah.
 11       Q And it speaks again to Mr. Coen. Right?          11      Q Yes. And the last thing that he says in
 12       A Yes. That's what it looks like.                  12   response to that question is that he wants to be the
 13       Q Some of these names at the top, Tristan          13   next Jordan Binning. Do you see that?
 14   Pears. Are you familiar with Mr. Pears?                14      A I can see that. Yes.
 15       A Yes.                                             15      Q And Mr. Binning was a highly successful
 16       Q Is he still with Vivint?                         16   sales representative who was fired for cause twice.
 17       A Yes. He is.                                      17   Correct?
 18       Q Trey Dougher. Are you familiar with Mr.          18             MR. STEWARD: Objection. Form.
 19   Dougher?                                               19   Foundation.
 20       A Yes.                                             20      A Jordan Binning did work for us, yes, and he
 21       Q He was terminated for cause. Correct?            21   was terminated for cause.
 22       A Correct.                                         22      Q And before he left he had the largest
 23       Q Colton Ramon, terminated for cause.              23   regional sales group at Vivint. Correct?
 24   Correct?                                               24             MR. STEWARD: Objection. Form.
 25       A I believe Colton was.                            25   Foundation.

                                                                                                    13 (Pages 46 - 49)
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  1      A There were several similar size. He, he                 1             THE WITNESS: I don't know everything
  2   had, he had a large group that he did lead. Yes.             2   about COVID yet. I'm still learning.
  3      Q All right. Let me show you one more                     3             MR. EBLEN: I think we're safe. Just
  4   document. This one's a little bit different. I'll            4   as long as you don't give COVID to any more of my
  5   scroll through this one, and this is a multi-page,           5   Chiefs players before the game tonight.
  6   this is a six-page document, but it looks like, at           6             MR. STEWARD: Go ahead.
  7   least from the title, it's a 2018 competitions rule          7             THE WITNESS: I'm so sorry.
  8   book. Are you familiar, generally, with that type of         8             MR. STEWARD: No. Take a minute, Josh,
  9   document?                                                    9   and --
 10      A Yes.                                                   10             MR. EBLEN: -- yeah. Are you good? Or
 11      Q All right. And just for the record this is             11   do you need a break?
 12   Plaintiff's Trial Exhibit 211. And I don't have a lot       12             THE WITNESS: I'm good. I got a cough
 13   of specific questions, but it looks like the last two       13   drop and some water.
 14   pages list out a series of competitions. One is "The        14             MR. EBLEN: Okay.
 15   Tour". Do you see that?                                     15             THE WITNESS: And you were asking about
 16              (Exhibit Plaintiff's 211 was marked for          16   the --
 17              identification.)                                 17   BY MR. EBLEN:
 18      A Yes. Yeah. You, you kind of skipped                    18       Q Yeah. Is the "Premier League [ph]" one that
 19   through it quickly, so I don't know everything we've        19   Vivint holds annually?
 20   missed there, but yes. I see what you're looking at.        20       A Yes.
 21      Q Is "The Tour", based on your experience at             21       Q What about "Viper"?
 22   Vivint, is that a competition that Vivint holds every       22       A Yes. That's one we ran for a few -- all --
 23   year?                                                       23   those three are, are kind of -- they're ones we've ran
 24      A I mean, we, we'll change the names of these            24   for a few years. Yes. And --
 25   tournaments and competitions often, and I don't             25       Q "Thirty Days to Pro"? Is that an annual
                                                        Page 51                                                         Page 53
  1   believe we run that more than one year. I think that         1   event?
  2   was one year that we ran that.                               2       A Yes.
  3      Q And there it says that the top competition              3       Q And then these, each section then generally
  4   purse is between 10,000 and 30,000 dollars. Right?           4   sets out some of the rules and the prizes that can be
  5      A Yes. I can see that.                                    5   won for the competitions. Is that fair?
  6      Q And then there's one called "Pickup Games".             6       A Yes. That's what it looks like.
  7   Do you see that?                                             7       Q In your position as a vice president of
  8      A Yeah. As you read these, just as I'm -- I'm             8   sales, if you wanted to know how much money Vivint was
  9   not familiar with -- you've probably read this closer        9   bringing in by an individual state, would you have
 10   than I have, here. It's been a while for me -- but          10   access to that?
 11   what you may note is when you see dollar amounts on         11               MR. STEWARD: Objection. Form.
 12   these competitions, they are, more often than not they      12   Foundation.
 13   are prizes that are, equate to that value instead of a      13       A How, how much money Vivint is collecting
 14   cash prize. So there's a variety of ways that these         14   from customers in specific state? Is that your
 15   prizes are fulfilled.                                       15   question?
 16      Q Let me ask this: "The Cup," I understand, is           16       Q Correct. Yes. Correct.
 17   a competition Vivint has done every year for quite          17       A I, I've never looked at that. I, I imagine
 18   some time. Is that right?                                   18   if I, if I needed that, and I could, I could access
 19      A Yes.                                                   19   that. I, I've never accessed that or looked at the
 20              THE WITNESS: It's not COVID, Charles.            20   business that way.
 21   I'm, I tested.                                              21       Q If you wanted to undertake that task of,
 22              MR. EBLEN: I hope not.                           22   say, finding how much money Vivint was bringing in, in
 23              THE WITNESS: And I don't think it can            23   a specific state, where within Vivint's information
 24   go through this, here.                                      24   would you look?
 25              MR. EBLEN: No. I --                              25               MR. STEWARD: Objection. Form.

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                                                        Page 54                                                          Page 56
  1   Foundation. Misstates testimony. Vague as to                 1   that question over.
  2   bringing money in, and I caution the witness not to          2           In your role are you responsible for
  3   speculate. If he doesn't have knowledge, he doesn't          3   overseeing that the Vivint sales force, so regional
  4   have knowledge.                                              4   managers and managers, comply with Vivint's rules as
  5   BY MR. EBLEN:                                                5   far as social media use to recruit new sales
  6      Q Go ahead.                                               6   representatives?
  7             MR. STEWARD: If you want to re-ask it,             7        A We do have a social media policy that we do,
  8   I mean --                                                    8   that we communicate out to our sales force. We have,
  9             MR. EBLEN: Sure. Yeah.                             9   as we've stated, thousands of sales representatives.
 10             MR. STEWARD: Bringing money in.                   10   It's very difficult to know what's being posted or how
 11             MR. EBLEN: Sure.                                  11   it's being posted. So it's, it's difficult to
 12   BY MR. EBLEN:                                               12   monitor. We do have certain things that get flagged,
 13      Q If Vivint, in terms of all of the customer             13   but we, we have a policy that's communicated clearly
 14   recurring revenue that was being paid by customers in       14   out to the sales force on social media and how to use
 15   a specific state, where would you look within Vivint's      15   that.
 16   recordkeeping or databases to try and find that             16        Q Do you agree that one of the ways Vivint
 17   information?                                                17   managers recruit new sales people is to boast about
 18             MR. STEWARD: Objection. Form,                     18   how much money they make?
 19   foundation, and vague. I mean, that's a -- so now           19              MR. STEWARD: Objection. Form. Calls
 20   you're asking recurring? I don't understand what you        20   for speculation.
 21   mean by recurring.                                          21   BY MR. EBLEN:
 22             MR. EBLEN: Yeah.                                  22        Q Have you ever seen that in social media or
 23   BY MR. EBLEN:                                               23   otherwise?
 24      Q All of the -- I'm just asking, if Vivint               24        A You, you asked, is that one of the ways --
 25   wanted to find out all of the money in a given year         25   I, I -- our sales reps have variety of ways that they
                                                        Page 55                                                          Page 57
  1   that was being brought in by customers in a given            1   recruit. That's not the primary way we recruit. When
  2   state, where would you look to find that information?        2   sales representatives talk about the pay scale and how
  3              MR. STEWARD: Okay. Objection. Form,               3   the, the earning opportunity would be, that's
  4   foundation, and goes beyond the scope of what this           4   certainly a part of the conversation as with any job.
  5   witness was noticed for.                                     5   You talk about the compensation, earning opportunity.
  6              If you know and you have knowledge, let           6          When you say most of the, the earning
  7   him know. If you don't, let him know that as well.           7   opportunity, I, I don't know, you know, what you're
  8       A Like I said, I, that's not how I look at the           8   referring to or speculating there, but again, we
  9   business. Yeah. I, I don't know where I would go to          9   would, do train our sales representatives to clearly
 10   get that information. I would imagine our accounting        10   describe to -- force and as they recruit reps how the
 11   and finance teams could have access to that. That's         11   compensation works and, and, and what that opportunity
 12   not something I've ever looked at or would see need         12   looks like. That is part of the recruiting process.
 13   for my current role.                                        13   Yes.
 14       Q The document that we just looked at, is               14      Q Do you agree that part of the recruiting
 15   there something, like, in form, is there a document         15   process involves advertising a flashy lifestyle that
 16   like that that's generated every year that describes        16   they could live working with Vivint?
 17   the various competitions that take place?                   17             MR. STEWARD: Objection. Form.
 18       A Yeah. I don't know where that specific                18   Foundation.
 19   document came from. It looked, looked somewhat              19      A You say flash, a flashing style? I don't --
 20   familiar. It could be gathered from a few different         20      Q Yes.
 21   sources, but we do lay out our competitions that we         21      A -- know what you're -- with that.
 22   have for the upcoming season, the time, time frame          22      Q A lavish lifestyle. One doing, you know,
 23   those are participated in. So yes. In some form or          23   fancy things. Fancy cars. Do you agree that that is
 24   fashion we lay that out.                                    24   part of what is advertised in the recruiting process
 25       Q Do you train -- or actually let me start              25   to get new Vivint sales reps?

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  1       A When, when you say advertise, we, we don't, 1             BY MR. EBLEN:
  2   we don't do paid advertisements to recruit. We, our 2               Q I'm getting to --
  3   sales managers often recruit on college campuses or 3               A You, you've, you've probably now spent more
  4   inside their personal networks and circles of         4         time on my Facebook than I have. I'm not on social
  5   influence, so there's not a, there's not a, any paid  5         media very often. I will accept friend requests when
  6   advertisements that the company sends out.            6         they come across and, you know, give them my position.
  7       Q All right. I'm going to share my screen         7         A lot of our sales rep force have requested being a
  8   with you real quick. Mr. Crittenden, you're on        8         friend on Facebook. Yeah. I, I do not have a lot of
  9   Facebook. Right?                                      9         time on social media. So --
 10       A Yes.                                           10             Q No. I --
 11       Q Okay. Does this look like your Facebook        11             A You, you've probably --
 12   profile?                                             12             Q I --
 13       A Yes.                                           13             A -- more than I have.
 14       Q All right. And you know that one of the        14             Q I appreciate that. So okay. So I'm looking
 15   things that Facebook tracks are your, people who are 15         at a post from Josh Coen on November 9, 2019. It's
 16   your friends. Correct?                               16         about a guy name Nolan Detlefson. Do you know who
 17       A Yes.                                           17         Nolan Detlefson is?
 18       Q And you're friends with Josh Coen. Right? 18                  A Yes. I do.
 19       A That appears to be so. Yes.                    19             Q Okay. And have you met him before?
 20       Q You've met Josh Coen. Correct?                 20             A I have. Yes.
 21       A Yes.                                           21             Q And does that look like Mr. Detlefson
 22       Q And does that look to you like Josh Coen?      22         standing by -- I don't know if that's a Lamborghini or
 23       A Yes. That does look, that is, that looks       23         a Ferrari with a Vivint shirt on.
 24   like the Josh Coen that worked for Vivint. Yes.      24             A It's kind of small on my screen. It, it
 25       Q Okay. I'd like to ask you just a few           25         appears to be. Again, I cannot, can't tell, quite.
                                                       Page 59                                                        Page 61
  1   questions about some of his posts related to                1   It's a, it's kind of small. I, and I'm not familiar
  2   recruiting.                                                 2   with every detail of the case here that we're
  3       A Okay.                                                 3   discussing, but I am confused at how this would relate
  4       Q To find out whether or not you deem them to           4   to the CPI case. If you could tie that together, that
  5   be consistent with what Vivint allows its managers to       5   would help.
  6   use to market to new recruits. So --                        6       Q No. I appreciate your position there. And
  7             MR. STEWARD: Charlie, what does this              7   my question is simply, is this the kind of marketing
  8   possibly have to do with CPIs claims? I mean, you got       8   from sales managers that Vivint condones as a company?
  9   to be kidding me. This is --                                9                MR. STEWARD: Objection. Form.
 10             MR. EBLEN: Well, I'm --                          10   Assumes facts not in evidence. Foundation.
 11             MR. STEWARD: -- this is what you're,             11       A I have -- you, you, you scrolled through a
 12   this is how you want to spend the time?                    12   long list of posts he's made here. I haven't read
 13             MR. EBLEN: I don't have much left, so            13   every one. And it's a picture of a, a person by a
 14   yeah. This is. I mean, we can disagree                     14   car. I, I don't, I, I really struggle to know what
 15   philosophically on this, and I'm sure you'll seek to       15   you're asking for. We do have a social media policy.
 16   keep it out. But ...                                       16   Our counsel can provide that to you if you deem that
 17             MR. STEWARD: Well, it's more, you                17   important for the case, here. They can, they can
 18   know, witnesses have rights to not have their time         18   review that for you. But I -- not, not following the
 19   wasted and being harassed through --                       19   question or the pertinence here.
 20             MR. EBLEN: I'm not -- no. I'm not                20       Q Yeah. No. I appreciate that. But I'm
 21   harassing him, and I'm not wasting his time.               21   just, I'm asking you if a post like this where he's
 22             MR. STEWARD: Well, you are in the                22   wearing a Vivint shirt and Josh Coen is describing his
 23   sense that it bears absolutely no relationship to CPIs     23   success, is that something that Vivint would authorize
 24   allegations, but go ahead.                                 24   individual managers to do to recruit new sales people?
 25             MR. EBLEN: All right. Okay.                      25                MR. STEWARD: Objection. Form.

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  1   Foundation. Mischaracterizes the evidence.                  1   BY MR. EBLEN:
  2       A Yeah. So again, happy to provide you our              2       Q All right. I got ahead of myself. Okay.
  3   social media policy. We have thousands of sales             3   Can you see my screen again, Mr. Crittenden?
  4   representatives and cannot control what they post or        4       A Yes.
  5   how they post and do, do not have any guidance              5       Q All right. And this is Plaintiff's 95 that
  6   instructing sales representatives to post anything          6   we've been looking at that has the list of videos. Do
  7   like this. This is not part of our recruiting               7   you see that there are some videos on here that look
  8   trainings.                                                  8   like they may have, they may cover topics other than
  9       Q All right. What type of sales tracking                9   sales training? Is that accurate?
 10   software do you use to evaluate sales rep performance?     10              (Exhibit Plaintiff's 95 was marked for
 11              MR. STEWARD: Objection. Form.                   11              identification.)
 12   Foundation.                                                12       A Yeah. Those are, these are, this is a list
 13       A Type of software?                                    13   of videos, not sales training only. Other content
 14       Q Yes. What program?                                   14   here.
 15       A So Insider is the website that reports the           15       Q Okay. And have you had time to just
 16   data, and that, there's a page on Insider called           16   generally familiarize yourself with this list? I'm
 17   Mobile Report. Again, this is internally developed,        17   not saying specifically watch all of them, but have
 18   so I don't know what software specifically is powering     18   you at least scrolled through the list to see the
 19   that. I don't know the relevance to the type of            19   types of videos that are on here?
 20   software.                                                  20       A No. Not other than what you've, I've
 21       Q Does Vivint use any monitoring software              21   watched you scroll through today.
 22   provided to monitor social media for violations of the     22       Q Okay. But again, you don't have any reason
 23   policy?                                                    23   to believe that any of these videos are unauthorized
 24       A I, I, I, I don't know. It's not something I          24   videos that Vivint didn't create for the purposes of
 25   have information on.                                       25   either its sales force or its employees; do you?
                                                       Page 63                                                          Page 65
  1       Q In Vivint software do you have the ability            1               MR. STEWARD: Objection. Form.
  2   to look up how many customers Vivint has in specific        2               THE WITNESS: I, I would want to scroll
  3   markets? Whether it's by state or city or other             3   through that. You asked that a few times. I would
  4   region?                                                     4   want to make sure I would go through that, the whole
  5             MR. STEWARD: Objection. Form.                     5   list, here.
  6   Foundation. Goes beyond the scope of what this              6               MR. STEWARD: Yeah. I mean --
  7   witness was asked to know.                                  7               MR. EBLEN: Okay.
  8       A You're asking me specifically or a general            8               MR. STEWARD: There's 615 entries. So
  9   question about a sales rep? Whose access are you            9   ...
 10   asking about?                                              10               THE WITNESS: Yeah. I, I'd want, I'd
 11       Q Yours.                                               11   want to go through it, but again, and I don't believe
 12       A Mine. So I don't look at the business that           12   all of these are still active. I, I would want to
 13   way. I don't have any reports that do that, so I, I        13   check those too as what's active and, you know, and
 14   don't, I don't have anything accessible. I imagine         14   how long the duration it was active for. So there's
 15   our data team could pull that, but again, it's not         15   a, there's a, probably more you would want to look at,
 16   something I, I've ever accessed, necessarily, in the       16   here, and there's a lot of list, a lot of videos on
 17   way you're asking.                                         17   this list.
 18             MR. EBLEN: All right. Let's take five            18   BY MR. EBLEN:
 19   minutes, here. I think I'm pretty close to done.           19       Q Well, what are some of the other videos used
 20             MR. STEWARD: Hey, Charlie. Just --               20   for?
 21             THE REPORTER: Time is 5:42 p.m. We               21       A Well, as you go through, there's promotion
 22   are now off the record.                                    22   content. There's recognition. You know, we've had
 23             (Off the record.)                                23   videos that summarize some of the sales incentive
 24             THE REPORTER: The time is 5:48 p.m.              24   trips. There's highlight videos. There's, you know,
 25   We are now back on the record.                             25   videos that promote to the competition and review,

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  1   like, show the prizes. There's -- again, there's good        1   year. So there's, there's a variety of reasons they
  2   variety of videos here.                                      2   use it. They're often -- again, it's a, it
  3        Q The videos that promote competitions, are             3   commemorates an important port of the year and adds
  4   you involved with their creation?                            4   fun to show for the team.
  5        A No. Well, I mean, again, that team that               5              MR. STEWARD: Charlie, is CPI claiming
  6   films them does report to me, but I don't, I'm not out       6   that it won an award that it didn't receive in one of
  7   filming with them. No.                                       7   these competitions?
  8        Q And the idea behind those videos is to, you           8   BY MR. EBLEN:
  9   know, create a video that encourages the sales force         9      Q Do you know what the average sales rep
 10   to participate in the competition. Is that generally        10   salary is?
 11   correct?                                                    11      A So, Charlie, our sales reps don't have a
 12              MR. STEWARD: Objection. Form,                    12   salary. Our sales representatives are paid on a
 13   foundation, and vague as to idea.                           13   commission basis.
 14   BY MR. EBLEN:                                               14      Q Do you know what the average sales rep makes
 15        Q Well, I mean -- what -- I'll ask a better            15   per year?
 16   question. What is the purpose for the sales                 16      A I don't know that off the top of my head.
 17   competition videos?                                         17   We have, we have about 4500 reps that made a sale for
 18        A Yeah. I'm sure you watched a few of them.            18   us last year.
 19   We will show some of the different items that can be        19      Q Does Vivint disclose sales rep compensation
 20   won, and it's, you know, it's meant to be played in         20   numbers?
 21   the team correlation meetings, which -- training, talk      21      A Individual --
 22   about the rules. And so we would review the rules,          22              MR. STEWARD: I'm sorry. Object as to
 23   and we'll go over what prizes that can be won. And          23   form. Vague.
 24   it's often played in our team correlations throughout       24              THE WITNESS: Are you asking about an
 25   the summer.                                                 25   individual's personal compensation?
                                                        Page 67                                                         Page 69
  1       Q Are there also videos that are created                 1   BY MR. EBLEN:
  2   related to trips that sales representatives can go on        2       Q Yes.
  3   as an incentive for sales competitions?                      3       A If they're, with their permission, they, if
  4       A Yeah. I believe -- again, I haven't gone               4   they share that, we, you know, we allow a sales
  5   through this full list, but I believe -- I mean, row         5   representative to talk about their compensation.
  6   50 there, that's a video highlighting one of the sales       6       Q What about averages? Are averages
  7   incentive trips that we went on. It's taking pictures        7   disclosed?
  8   from the trip and families that were together on that        8       A It depends on the medium we're displaying
  9   trip. So I think -- that, that's what that one would         9   that, but sometimes we'll show an average.
 10   be.                                                         10       Q What are the contexts in which that might
 11       Q Are there also videos related to award                11   occur?
 12   ceremonies?                                                 12       A So we, we'll, we make a recruiting brochure
 13       A Again, I have not scrolled through all, all           13   sometimes that talks about the opportunity, who Vivint
 14   of these here, but we do have our video team film           14   is, what differentiates us, what we invest in our, in
 15   those. Again, I don't know what has all been provided       15   marketing, what we invest in product innovation. So a
 16   here or what they end up using.                             16   recruiting brochure would entail a lot of things to
 17       Q What's the purpose for filming videos                 17   talk about the opportunity to talk about the job and
 18   related to the awards shows?                                18   who we're recruiting. In that we may show averages,
 19       A We like to capture, you know, the full                19   again, over the years. We've been in business a long
 20   experience of what the, involves working for Vivint,        20   time. We, we've shown average compensation figures.
 21   and those are often used to show potential recruits         21   But again, that's, that's one component in the
 22   what the full experience looks like. It's a, it's           22   recruiting process.
 23   a -- they're often fun events where they, you know,         23       Q Are you able to look up the number of
 24   the sales reps and the teams will dress up with their,      24   customers Vivint has in a given state?
 25   their spouses or significant others and celebrate the       25              MR. STEWARD: Objection.

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                                                     Page 70                                                        Page 72
  1             THE WITNESS: No.                                1           CERTIFICATE OF DEPOSITION OFFICER
  2             MR. STEWARD: Form. I'm sorry.                   2          I, JOSHUA SEAGONDOLLAR, the officer before
  3   Objection. Form. Foundation. Beyond the scope.            3   whom the foregoing proceedings were taken, do hereby
  4             THE WITNESS: No. I'm, I, I am not               4   certify that any witness(es) in the foregoing
  5   able to. You've asked that a few times. I, that's         5   proceedings, prior to testifying, were duly sworn;
  6   not how I look at the business. I don't have that         6   that the proceedings were recorded by me and
  7   data.                                                     7   thereafter reduced to typewriting by a qualified
  8   BY MR. EBLEN:                                             8   transcriptionist; that said digital audio recording of
  9       Q What type of data do you assess for purposes        9   said proceedings are a true and accurate record to the
                                                               10   best of my knowledge, skills, and ability; that I am
 10   of assessing how sales are going?
                                                               11   neither counsel for, related to, nor employed by any
 11       A Well, obviously look at sales numbers, and
                                                               12   of the parties to the action in which this was taken;
 12   we look at, at, by teams. We look at per rep
                                                               13   and, further, that I am not a relative or employee of
 13   averages. We look at number of reps with a sale.
                                                               14   any counsel or attorney employed by the parties
 14   We'll look at the different components of how many
                                                               15   hereto, nor financially or otherwise interested in the
 15   cameras they're selling. The, there's a variety of
                                                               16   outcome of this action.
 16   things we look at but more, more around sales
                                                                                         <%25490,Signature%>
 17   performance as a whole with the company and then also    17                            JOSHUA SEAGONDOLLAR
 18   down by specific teams and, and by regions.              18                      Notary Public in and for the
 19          But again, when, when you hear us say region      19                         State of North Carolina
 20   and, and team, we're not summarizing that by a           20
 21   geographic region. A regional is somebody that's over    21   [X] Review of the transcript was requested.
 22   multiple teams. So there's nothing -- we don't look      22
 23   at the business geographically at all. It, it's          23
 24   looked at holistically, total numbers and then by, by    24
 25   the different teams and regions. But again, that's       25
                                                     Page 71                                                        Page 73
  1   not geographic.                                        1                CERTIFICATE OF TRANSCRIBER
  2             MR. EBLEN: All right. I think that's         2             I, ERICA MAKUCH, do hereby certify that this
  3   all the questions that I have for you.                 3      transcript was prepared from the digital audio
  4             MR. STEWARD: Okay. And no questions 4               recording of the foregoing proceeding, that said
  5   for me. Thanks, Josh.                                  5      transcript is a true and accurate record of the
  6             THE WITNESS: Okay. Thank you.                6      proceedings to the best of my knowledge, skills, and
  7             MR. EBLEN: Thanks.                           7      ability; that I am neither counsel for, related to,
  8             THE REPORTER: So just to clarify, so         8      nor employed by any of the parties to the action in
  9   how would we like to handle transcript orders?         9      which this was taken; and, further, that I am not a
                                                            10      relative or employee of any counsel or attorney
 10             MR. STEWARD: Yeah. I think we both
                                                            11      employed by the parties hereto, nor financially or
 11   have standing orders with Veritext for this.
                                                            12      otherwise interested in the outcome of this action.
 12             MR. EBLEN: Yeah. We do. We'll need a
                                                            13
 13   rush just as fast as you can, not on the video but on
                                                            14
 14 the transcript.
                                                                                        <%26317,Signature%>
 15           THE REPORTER: All right.
                                                               15                           ERICA MAKUCH
 16           MR. EBLEN: And we'll send to you all             16
 17 the exhibits that were used so that that's clear.          17
 18           THE REPORTER: All right, then.                   18
 19           (Signature reserved.)                            19
 20           (Whereupon, at 5:57 p.m., the                    20
 21           proceeding was concluded.)                       21
 22                                                            22
 23                                                            23
 24                                                            24
 25                                                            25

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  1 MATTHEW A. STEWARD, ESQUIRE                                           1 CPI Security Systems, Inc, v. Vivint Smart Home, Inc.
  2 mas@clydesnow.com                                                     2 Joshua Crittenden (#4997856)
  3                 December 20, 2021                                     3           ACKNOWLEDGEMENT OF DEPONENT
  4 RE:     CPI Security Systems, Inc, v. Vivint Smart Home, Inc.         4    I, Joshua Crittenden, do hereby declare that I
  5     12/16/2021, Joshua Crittenden (#4997856)                          5 have read the foregoing transcript, I have made any
  6     The above-referenced transcript is available for                  6 corrections, additions, or changes I deemed necessary as
  7 review.                                                               7 noted above to be appended hereto, and that the same is
  8     Within the applicable timeframe, the witness should               8 a true, correct and complete transcript of the testimony
  9 read the testimony to verify its accuracy. If there are               9 given by me.
 10 any changes, the witness should note those with the                  10
 11 reason, on the attached Errata Sheet.                                11 ______________________________           ________________
 12     The witness should sign the Acknowledgment of                    12 Joshua Crittenden                 Date
 13 Deponent and Errata and return to the deposing attorney.             13 *If notary is required
 14 Copies should be sent to all counsel, and to Veritext at             14             SUBSCRIBED AND SWORN TO BEFORE ME THIS
 15 Erratas-cs@veritext.com.                                             15             ______ DAY OF ________________, 20___.
 16                                                                      16
 17   Return completed errata within 30 days from                        17
 18 receipt of testimony.                                                18             __________________________
 19   If the witness fails to do so within the time                      19             NOTARY PUBLIC
 20 allotted, the transcript may be used as if signed.                   20
 21                                                                      21
 22            Yours,                                                    22
 23           Veritext Legal Solutions                                   23
 24                                                                      24
 25                                                                      25

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  2 Joshua Crittenden (#4997856)
  3             ERRATA SHEET
  4 PAGE_____ LINE_____ CHANGE________________________
  5 __________________________________________________
  6 REASON____________________________________________
  7 PAGE_____ LINE_____ CHANGE________________________
  8 __________________________________________________
  9 REASON____________________________________________
 10 PAGE_____ LINE_____ CHANGE________________________
 11 __________________________________________________
 12 REASON____________________________________________
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 17 __________________________________________________
 18 REASON____________________________________________
 19 PAGE_____ LINE_____ CHANGE________________________
 20 __________________________________________________
 21 REASON____________________________________________
 22
 23 ________________________________ _______________
 24 Joshua Crittenden                     Date
 25

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                   Federal Rules of Civil Procedure

                                   Rule 30



      (e) Review By the Witness; Changes.

      (1) Review; Statement of Changes. On request by the

      deponent or a party before the deposition is

      completed, the deponent must be allowed 30 days

      after being notified by the officer that the

      transcript or recording is available in which:

      (A) to review the transcript or recording; and

      (B) if there are changes in form or substance, to

      sign a statement listing the changes and the

      reasons for making them.

      (2) Changes Indicated in the Officer's Certificate.

      The officer must note in the certificate prescribed

      by Rule 30(f)(1) whether a review was requested

      and, if so, must attach any changes the deponent

      makes during the 30-day period.




      DISCLAIMER:      THE FOREGOING FEDERAL PROCEDURE RULES

      ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

      THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

      2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

      OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.




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                 VERITEXT LEGAL SOLUTIONS
       COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

 Veritext Legal Solutions represents that the
 foregoing transcript is a true, correct and complete
 transcript of the colloquies, questions and answers
 as submitted by the court reporter. Veritext Legal
 Solutions further represents that the attached
 exhibits, if any, are true, correct and complete
 documents as submitted by the court reporter and/or
 attorneys in relation to this deposition and that
 the documents were processed in accordance with
 our litigation support and production standards.

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 State regulations with respect to the provision of
 court reporting services, and maintains its neutrality
 and independence regardless of relationship or the
 financial outcome of any litigation. Veritext requires
 adherence to the foregoing professional and ethical
 standards from all of its subcontractors in their
 independent contractor agreements.

 Inquiries about Veritext Legal Solutions'
 confidentiality and security policies and practices
 should be directed to Veritext's Client Services
 Associates indicated on the cover of this document or
 at www.veritext.com.




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